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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE

10

11       UNITED STATES OF AMERICA,                            CASE NO. CR22-001 TL
12                             Plaintiff,
                                                              MINUTE ORDER
13               v.

14       SHABNAM DAWN PILISUK,

15                             Defendant.

16          The following Minute Order is made at the direction of the Court, the Honorable Tana

17 Lin, United States District Judge:

18          The Court ALLOWS the attorneys and their staff in this case to bring food and drink into

19          the courthouse for the duration of the trial, which begins on Monday, February 27, 2023,

20          at 9:00am in Courtroom 14B and is expected to run through Friday, March 3, 2023.

21          Dated this 14th day of February 2023.

22                                                       Ravi Subramanian
                                                         Clerk of the Court
23
                                                         s/ Kadya Peter
24                                                       Deputy Clerk

     MINUTE ORDER - 1
